Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 1 of 43




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             Case No. _________________

  WENDY FINKELSTEIN,

        Plaintiff,

  v.

  LQV WEST PALM BEACH, LLC,
  A Florida Limited Liability Corporation,
  And SAM TEJADA, individually,

        Defendants.

  _____________________________/

             DEFENDANTS’ NOTICE OF AND PETITION FOR REMOVAL

        Defendants, LQV WEST PALM BEACH, LLC, a Florida Limited Liability

  Corporation, and SAM TEJADA, individually (hereinafter collectively referred to

  as “Defendants”), in accordance with the applicable Federal Rules of Civil

  Procedure and 28 U.S.C. §§ 1331, 1441, and 1446, hereby respectfully file this

  Notice of and Petition for Removal (the “Notice”). Defendants request that the

  Honorable Court remove this action filed by the Plaintiff, Wendy Finkelstein

  (“Plaintiff”), from the Fifteenth Judicial Circuit Court in and for Palm Beach

  County, Florida, to the United States District Court for the Southern District of

  Florida. The removal of this action is based upon the following:

        1.     On or about April 27, 2021, Plaintiff filed an eight-count civil action

  in the Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach

  County, Florida, styled as Wendy Finkelstein v. LQV West Palm Beach, LLC and

  Sam Tejada, (hereinafter the “Circuit Court case”) asserting purported violations
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 2 of 43




  of the Florida Civil Rights Act of 1992, Florida Statutes, Chapter 760 et. seq.,

  Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, Title VII of the Civil

  Rights Act of 1866, 42 U.S.C. § 1981, and the Fair Labor Standards Act, 29

  U.S.C. § 201, et seq. The Circuit Court case was assigned Case No. 502021-CA-

  005394XXXXMB, Div AG.

        2.     On May 10, 2021, Defendants’ counsel e-mailed Plaintiff’s counsel

  to state that Defendants would be represented by the undersigned and that the

  undersigned was authorized to accept service on behalf of both Defendants. See

  Exhibit 1. Therefore, this Notice has been filed within 30 days after acceptance

  of service of the Complaint pursuant to 28 U.S.C. § 1446(b).

        3.     A copy of the acceptance of service, pleadings, and orders is attached

  to this Notice as Exhibit 1, as required by 28 U.S.C. § 1446(a).

        4.     Pursuant to 28 U.S.C. § 1446(d), Defendants provided written notice

  of the removal to all adverse parties in this action by filing a copy of this Notice

  in the Circuit Court in and for Palm Beach County, Florida.

        5.     A removal is not proper unless “all defendants who have been

  properly joined and served...consent to the removal of the action.” 28 U.S.C. §

  1446(b)(2)(A).     Defendants have complied with this requirement because

  Defendants are the only named Defendants and consent to removal and is filing

  this Notice of and Petition for Removal.

        6.     The District Court of the United States has original federal question

  jurisdiction over this matter because the Complaint involves controversies
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 3 of 43




  arising under the Title VII, 42 U.S.C. § 1981, and the FLSA. See 28 U.S.C. §

  1331. Thus, this action is removable pursuant to 28 U.S.C. § 1441(a).

        7.    The United States District Court for the Southern District of Florida,

  West Palm Beach Division, includes the judicial county in which Plaintiff filed

  her Complaint. See 28 U.S.C. § 1441(a). Thus, removal is proper to this Court.

        8.    Defendants submit this Notice of Removal without waiving any

  defenses or affirmative defenses to the claims asserted by Plaintiff or conceding

  that Plaintiff has pled claims upon which relief can be granted.

        WHEREFORE, Defendants, LQV WEST PALM BEACH, LLC, a Florida

  Limited Liability Corporation, and SAM TEJADA, individually, respectfully

  request this action be removed from the Circuit Court of the Fifteenth Judicial

  Circuit in and for Palm Beach Dade County, Florida, to the United States District

  Court for the Southern District of Florida, and that this Court direct that the

  Circuit Court has no further jurisdiction of this matter unless this case is

  remanded.

  Respectfully submitted on May 12, 2021.


                                             By: /s/ Brody M. Shulman
                                             Brody M. Shulman, Esq.
                                             Florida Bar No. 092044
                                             brody@pba-law.com

                                             PERERA BARNHART ALEMÁN
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                                             Coral Gables, Florida 33134
                                             Telephone: 786-485-5232
                                             Counsel for Defendants
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 4 of 43




                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 12, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record

  identified on the attached Service List via transmission of Notice of Electronic

  Filing generated by CM/ECF and Electronic Mail.

                                          /s/ Brody M. Shulman
                                              Brody Max Shulman, Esq.

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Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 5 of 43




                       EXHIBIT “1”
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 6 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 7 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 8 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 9 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 10 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 11 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 12 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 13 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 14 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 15 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 16 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 17 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 18 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 19 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 20 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 21 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 22 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 23 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 24 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 25 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 26 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 27 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 28 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 29 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 30 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 31 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 32 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 33 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 34 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 35 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 36 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 37 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 38 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 39 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 40 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 41 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 42 of 43
Case 9:21-cv-80860-DMM Document 1 Entered on FLSD Docket 05/12/2021 Page 43 of 43
                                                      Wednesday, May 12, 2021 at 09:39:02 Eastern Daylight Time


Subject:    Finkelstein v LQV West Palm Beach, et al - No9ce of Representa9on
Date:       Monday, May 10, 2021 at 2:48:32 PM Eastern Daylight Time
From:       Brody Shulman
To:         rkerr@russellkerrlaw.com, nsarta@russellkerrlaw.com, gregory.sussman@russellkerrlaw.com,
            edward@russellkerrlaw.com
CC:         Brody Shulman, Nicole Guedes
AFachments: image001.png

Good afternoon,

My office was just retained by LQV and Mr. Tejada to represent it in this matter. We are
authorized to accept service of the Complaint on behalf of both Defendants. I look forward
to working with you all on this matter.

Thank you.

Cordially,


                                       Brody Max Shulman, Esq.
                                       Partner – Miami Office

                                       a: 12555 Orange Drive, Suite 207 Davie, FL 33330
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                                                                                                                 Page 1 of 1
